      John Craiger (Bar No. 021731)
 1    POLSINELLI PC
      One East Washington St., Suite 1200
 2    Phoenix, Arizona 85004
      Telephone: (602) 650-2000
 3    Facsimile: (602) 264-7033
      E-Mail: jcraiger@polsinelli.com
 4
      Matthew S. Layfield (Pro Hac Vice)
 5    Michael A. Campbell (Pro Hac Vice)
      Nick A. Griebel (Pro Hac Vice)
 6    POLSINELLI PC
      100 S. Fourth Street, Suite 1000
 7    St. Louis, Missouri 63102
      Telephone: (314) 889-8000
 8    Facsimile: (314) 231-1776
      Email: mlayfield@polsinelli.com
 9           mcampbell@polsinelli.com
             ngriebel@polsinelli.com
10
      Attorneys for the Defendants Valliance Bank,
11    Shelby Bruhn, and Katherine S. Bruhn
12                     IN THE UNITED STATES BANKRUPTCY COURT
13                           FOR THE DISTRICT OF ARIZONA

14
      In re:
15    SKYLER AARON COOK,                                Chapter 7 Proceedings
16                                                      Case No. 2:20-bk-01730-EPB
                               Debtor.
17
      JAMES E. CROSS, TRUSTEE,
18                                                      Adversary No. 2:21-ap-00336-EPB
                                  Plaintiff,
19
      vs.
20                                                      NOTICE OF HEARING
21    VALLIANCE BANK, SHELBY BRUHN,
      and KATHERINE S. BRUHN,
22

23                               Defendants.

24
               PLEASE TAKE NOTICE that the Court shall conduct a hearing before the Hon.
25

26    Eddward P. Ballinger, Jr. in the United States Bankruptcy Court, District of Arizona, 230
27    N 1st Ave, Ste 101, Phoenix, Arizona 85003, on the Defendants’ Motion to Dismiss Count
28

Case 2:21-ap-00336-EPB                         1
                           Doc 198 Filed 09/13/23  Entered 09/13/23 12:20:58        Desc
      91212900.1
                            Main Document    Page 1 of 2
      VII (RICO) of Trustee’s Third Amended Adversary Complaint (Dkt. No. 160) on
 1

 2    November 2, 2023 at 10:30 a.m., or as soon thereafter as the same may be heard.
 3             RESPECTFULLY SUBMITTED this 13th day of September, 2023.
 4

 5                                                POLSINELLI PC
 6                                                By: /s/ Michael A. Campbell
 7                                                   John Craiger
                                                     Matthew S. Layfield
 8                                                   Michael A. Campbell
                                                     Nick A. Griebel
 9

10                                                   Attorneys for Defendants Valliance
                                                     Bank, Shelby Bruhn, and Katherine S.
11                                                   Bruhn
12
             I hereby certify that on September 13, 2023, I electronically transmitted the
13    foregoing document to the Clerk's Office using the CM/ECF System for filing and
      transmittal of a Notice of Electronic Filing to all CM/ECF registrants, which constitutes
14    service, pursuant to L.R. Bankr. P. 9076-1:
15

16    /s/ Rebecca O’Brien
17

18

19

20

21

22

23

24

25

26

27

28

Case 2:21-ap-00336-EPB                          2
                            Doc 198 Filed 09/13/23  Entered 09/13/23 12:20:58       Desc
      91212900.1
                             Main Document    Page 2 of 2
